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& FEB 21 2019

THOMAS G BRUTON

 

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UNITED STATES DISTRICT COURT
. NORTHERN DISTRICT OF ILLINOIS

CLERK, U.S. DISTRICT COURT EASTERN DIVISION

UNITED STATES OF AMERICA
Vv.

JACQUELINE KENNEDY-ROBEY,
also known as “Jacqueline Kennedy”

19 CR 54

Violations: Title 18, United States
Code, Section 1341

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JUDGE RONALD GUZMAN

COUNT ONE
The SPECIAL JULY 2018 GRAND JURY charges! “AGISTRATE JUDGE VALDEZ
1. At times material to this Indictment:
a. JACQUELINE KENNEDY-ROBEY, also known as “Jacqueline

Kennedy,” lived in the Northern District of Illinois.

b.

Cc.

d.

e.

Individual A lived in the Northern District of Illinois.
Dealership A was an automobile dealership in Oak Lawn, Illinois.
Dealership B was an automobile dealership in Joliet, [linois.

Lenders A and C were financial institutions, insured by the FDIC,

whose lending activities included providing customers with automobile loans and

credit card accounts.

f.

Lender B, an automobile financing company and wholly-owned

subsidiary of an FDIC-insured financial institution, provided customers with

automobile loans.

 
 

 

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g. Lenders, including Lenders A, B, and C, required automobile loan
and credit card applicants to provide truthful information about the applicant’s
financial condition, including employment and income, which was material to
lenders’ approval, terms, and funding of loans and credit.

z. Beginning no later than in or around September 2017, and continuing
to in or around November 2017, in the Northern District of Illinois, and elsewhere,

JACQUELINE KENNEDY-ROBEY,
also known as “Jacqueline Kennedy,”

defendant herein, and others known and unknown to the grand jury, devised and
participated in a scheme to defraud lenders, and to obtain money and property owned
by and under the custody and control of those lenders, by means of materially false
and fraudulent pretenses and representations, and by concealment of material facts,
which scheme affected a financial institution and is further described below.

3. It was part of the scheme that defendant KENNEDY-ROBEY and
others, including Individual A, knowingly caused false and fraudulent credit
applications and supporting materials to be provided to lenders, causing lenders to
issue credit to KENNEDY-ROBEY in an amount exceeding $57,000.

4. It was further part of the scheme that defendant KENNEDY-ROBEY
provided credit applications with inflated income and false representations about
employment to Lender A through Dealership A and, along with Individual A, to

Lender B through Dealership B.

 
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5. It was further part of the scheme that defendant KENNEDY-ROBEY,
along with Individual A, caused to be sent to lenders fictitious paystubs which listed
false employment and income information.

6. It was further part of the scheme that defendant KENNEDY-ROBEY
caused credit application materials containing false information to be sent to lenders
via commercial interstate carriers, including FedEx and UPS.

a: It was further part of the scheme that defendant KENNEDY-ROBEY
caused lenders to approve and fund the following loans based upon the false and
fraudulent application materials and information that KENNEDY-ROBEY provided,
and caused to be provided, to lenders:

a. On or about September 14, 2017, a loan of approximately $33,459
by Lender A to defendant KENNEDY-ROBEY for the purchase of a 2012 Mercedes-
Benz SUV; and

b. On or about November 15, 2017, a loan of approximately $24,069
by Lender B to defendant KENNEDY-ROBEY and Individual A for the purchase of a
2016 Kia SUV.

8. It was further part of the scheme that defendant KENNEDY-ROBEY
provided false income information to lenders, including Lender C, to obtain a credit
card account in the name of KENNEDY-ROBEY.

0. It was further part of the scheme that defendant KENNEDY-ROBEY

and others concealed, misrepresented, and hid, and caused to be concealed,
 

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misrepresented, and hidden, the existence, purpose, and acts done in furtherance of
the scheme.

10. Onor about September 21, 2017, at Oak Lawn, in the Northern District
of Illinois, Eastern Division, and elsewhere,

JACQUELINE KENNEDY-ROBEY,
also known as “Jacqueline Kennedy,”

defendant herein, for the purpose of executing the above-described scheme, and
attempting to do so, did cause to be sent and delivered by FedEx, a commercial
interstate carrier, according to the direction thereon, a credit application in the name
of KENNEDY-ROBEY and addressed to Lender A;

In violation of Title 18, United States Code, Section 1341.

 
 

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COUNT TWO
The SPECIAL JULY 2018 GRAND JURY further charges:
di Paragraphs 1 through 9 of Count One of this Indictment are
incorporated here.
2. On or about September 21, 2017, at Joliet, in the Northern District of

Illinois, Eastern Division, and elsewhere,

JACQUELINE KENNEDY-ROBEY,
also known as “Jacqueline Kennedy,”

defendant herein, for the purpose of executing the above-described scheme, and
attempting to do so, did cause to be sent and delivered by UPS, a commercial

interstate carrier, according to the direction thereon, a credit application in the name

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of KENNEDY-ROBEY and Individual A and addressed to Lender B;

In violation of Title 18, United States Code, Section 1341.

 
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FORFEITURE ALLEGATION

 

The SPECIAL JULY 2018 GRAND JURY further alleges:

1. Upon conviction of an offense in violation of Title 18, United States Code,

_ Section 1341, affecting a financial institution, as set forth in this Indictment,

defendant shall forfeit to the United States of America any property which constitutes
and is derived from proceeds obtained directly and indirectly as a result of the offense,
as provided in Title 18, United States Code, Section 982(a)(2)(A).

2. The property to be forfeited includes, but is not limited to:

a. a personal money judgment in the amount of approximately
$57,729.
3. If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence; has been
transferred or sold to, or deposited with, a third party; has been placed beyond the
jurisdiction of the Court; has been substantially diminished in value; or has been
commingled with other property which cannot be divided without difficulty, the
United States of America shall be entitled to forfeiture of substitute property, as
provided in Title 21, United States Code Section 853(p).

A TRUE BILL:

 

FOREPERSON

 

UNITED STATES ATTORNEY

 
